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                                                DISTRICT                         CouRT
                                                         for the
                                               District of New Jersey


                                   MAGISTRATE’S COURTROOM MINUTES


                                                                    MAGISTRATE JUDGE:           STEVEN C. MANNION

              UNITED STATES OF AMERICA
                                                                    CASE NO.          l9mj$444-4
                                         Plaintiff
                                                                                           11/26/2019
                              V.
                                                                    DATE OF PROCEEDINGS:


                  ANTHONY MACDONALD
                                                                     DATE OF ARREST:           11/20/2019
                                        Defendant



PROCEEDINGS:
j/ OMPLAINT                                                        El TEMPORARY COMMITMENT
    ADVISED OF RIGHTS                                              El CONSENT TO DETENTION WITH RIGHT TO MAKE A
      AIVER OF COUNSEL                /       t)c1Z.C
                                               ,—                  fl BAIL APPLICATION AT A LATER TIME
     PPT. OF COUNSEL: I -J AFPD I       I CJA                      fl AlL DENIED DEFENDANT REMANDED TO CUSTODY
                                                                                       -




    WAIVER OF HRG: I VI PRELIM I       I REMOVAL                      BAILS       :    /&O(t’C
    CONSENT TO MAGISTRATE’S JURISDICTION                                    UNSECURED BOND
El PLEA ENTERED: ] LGUILTY I         LNOT GUILTY                            SURETY BOND SECURED BY CASH/PROPERTY
El  PLEA AGREEMENT                                                    TRAVEL RESTRICTED_________________________
El .?dJLE II FORM                                                      EPORT TO PRETRIAL SERVICES
‘JFINANCIAL AFFIDAVIT EXECUTED                                        DRUG TESTING AND/OR TREATMENT
LE1 OTHER: 74ftLrI ç Pc%Ct1)                         -
                                                                        ENTAL HEALTH TESTING AND/OR TREATMENT
                                                                       URRENDER AND/OR OBTAIN NO PASSPORT
                                                                      SEE ORDER SETTING CONDITIONS OF RELEASE FOR
                                                                      ADDITIONAL CONDITIONS

 HEARING SET FOR:

   PRELIMINARY/REMOVAL HRG.                                         DATE:
   DETENTION/BAIL HRG.                                              DATE:
ElTRIAL:I    ICOURTJ    IJURY                                       DATE:
El SENTENCING                                                       DATE:
El OTHER:                                                           DATE:



 APPEARANCES:


AUSA:     RYAN O’NEILL

 DEFT. COUNSEL:     STACEY BIANCAMANO     &y M’iip
 PROBATION:

 INTERPRETER
                  Language:


TIME COMMENCED:
TIME TERMINATED:
                                                                                           SCOTT P. CREEGAN
CD NO:
                                                                            Scott P. Creegan, Deputy Clerk
